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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

 WILLIE B. SMITH III,

                              Plaintiff,                 No. 2:21-cv-00099-RAH

                         v.
                                                            CAPITAL CASE
 JEFFERSON DUNN, Commissioner, Alabama
 Department of Corrections,                            EXECUTION DATE SET
                                                         FEBRUARY 11, 2021
 &

 TERRY RAYBON, Warden, Holman
 Correctional Facility,

                              Defendants.

         RESPONSE TO DEFENDANTS’ MOTION TO DISMISS
            AND REPLY TO DEFENDANT’S OPPOSITION
         TO PLAINTIFF’S MOTION FOR STAY OF EXECUTION

      Thirteen days before his scheduled execution, Defendants revealed significant

changes to their execution protocol that impacted Mr. Smith’s First, Sixth, Eighth,

and Fourteenth Amendment rights. This Court expressed concerns, and required

Defendants to address them. In the days that have passed, the Defendants have twice

more changed the protocol, including in the last pleading they filed before this Court.

These events, which have seen four different execution protocols in the last two

weeks, illustrate the primary point of Mr. Smith’s complaint – his Fourteenth

Amendment rights are being violated. He is being treated differently than other death-


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sentenced inmates in Defendants’ quest to carry out an execution during a pandemic.

This Court should stay his execution and permanently enjoin Defendants from

conducting his execution using the “Smith Addendum” or any of its subsequent

permutations.

I.   Recent developments have not rendered Mr. Smith’s complaint moot,
and he has stated claims upon which relief can be granted.

          Upon order of this Court, Defendants made numerous changes to its less than

one-week-old addendum to the execution protocol. They increased the number of

witnesses from one to three, 1 they clarified the temperature at which

visitors/witnesses would have to meet in order to be permitted in the prison, and they

agreed that Mr. Smith would not be wearing a mask or face shield while in the

execution chamber. 2 After Mr. Smith responded to those changes3 Defendants made

further changes to the protocol, providing that witnesses or visitors who tested positive

could produce evidence of an indepedently-obtained negative test to gain entry into

the prison.4 Defendants also stated that, should Mr. Smith’s spiritual advisor test

positive for COVID-19 or not be allowed into the prison because of a temperature of




1
 Mr. Smith maintains that it is a misinterpretation of state law to force Mr. Smith to have any fewer
than six witnesses plus his spiritual advisor. However, that is an issue of interpretation of state law
that is not before this Court.
2
    Doc. 9.
3
    Doc. 11.
4
    Doc. 12.

                                                                                                      2
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greater than 100.4, they would “allow” him to seek spiritual comfort from the

Holman Chaplain.

       However, various questions remain that implicate Mr. Smith’s rights. First,

Defendants are leaving to a corrections officer’s unfettered discretion whether that

officer removes his mask and face shield during all or part of the consciousness

assessment. Second, the various revisions do not clearly indicate whether Mr. Smith

will be executed if he tests positive for COVID-19 during the week.5 Finally, the

revisions do not take into account what happens if Mr. Smith’s designated witnesses

are unable to attend the execution.

       A. Standard of review for a motion to dismiss

       The Complaint is a civil action governed by the Federal Rules of Civil

Procedure. As this Court has stated many times, “A motion to dismiss pursuant to

Rule 12(b)(6) of the Federal Rules of Civil Procedure tests the sufficiency of the

complaint against the legal standard set forth in Rule 8: ‘a short and plain statement of

the claim showing that the pleader is entitled to relief,’ Fed. R. Civ. P. 8(a)(2).” See

Robinson v. Ash, 2017 WL 4683932, at *2 (M.D. Ala. Oct. 17, 2017). In ruling on a

motion to dismiss, this Court “must accept the well pleaded facts as true and resolve

them in the light most favorable to the plaintiff.” [is this Id.?]


5
 If Mr. Smith tests positive for COVID-19 this week and Defendants proceed with plans to execute
him anyway, he will need to file an amended complaint setting forth a freestanding Eighth
Amendment claim. He will also be denied physical access to all counsel and his spiritual advisor if
Mr. Smith tests positive for COVID-19 this week.
                                                                                                  3
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        B. This case is not moot, regardless of the changes made by Defendants

        Defendants first argue that all of Mr. Smith’s claims are moot because of the

alternations to the addendum that they have made over the course of last week.

However, without more, those alterations do not render the case moot. Under the

doctrine of voluntary cessation,

        [i]t is well settled that a defendant's voluntary cessation of a challenged
        practice does not deprive a federal court of its power to determine the
        legality of the practice. If it did, the courts would be compelled to leave
        the defendant free to return to his old ways. In accordance with this
        principle, the standard we have announced for determining whether a
        case has been mooted by the defendant's voluntary conduct is stringent: A
        case might become moot if subsequent events made it absolutely clear that
        the allegedly wrongful behavior could not reasonably be expected to recur.6

        This case is not moot solely because the Defendants made changes upon this

Court’s request. If it did, there would be nothing to prevent Defendants from doing

the same thing to the next death row inmate it seeks to execute7 and requiring this

Court’s time again to resolve the issues in question. This is particularly true in the case

of Alabama’s execution protocol, because there is no oversight to adoption of any

measures in the protocol. See Ala. Code § 15-18-82.1(g) (“The policies and procedures

of the Department of Corrections for execution of persons sentenced to death shall

be exempt from the Alabama Administrative Procedure Act, Chapter 22 of Title 41.”).



6
  Sheely v. MRI Radiology Network, P.A., 505 F.3d 1173, 1183–84 (11th Cir. 2007) quoting Friends of the
Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) (internal quotation marks,
citations, and alterations omitted; emphases added).
7
  That could even be Mr. Smith, if his execution does not occur this week.
                                                                                                          4
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The protocol could be changed tomorrow or the morning of the execution, with no

notice or oversight. Therefore, the Court could still rule that the changes the

Defendants attempted to make in this case violate Mr. Smith’s rights and enjoin them

from ever putting those changes in place.

       C. Mr. Smith’s complaint states claims for which relief can be granted.

       The state also claims that none of the counts of Mr. Smith’s complaint state a

claim for which relief can be granted. Even with the changes made by Defendants to

their protocol, each count still states a claim for relief, and the case should move to

the discovery stage.

       Count 1 of Mr. Smith’s original complaint alleged that Defendants plan to have

him wear a mask and face shield during the execution and the corrections officer who

did the consciousness test also wear a face shield and mask violated the Eighth

Amendment because it introduced a significant level of risk of pain. In response,

Defendants changed the protocol to delete any requirement that Mr. Smith wear a

mask, and to give the officer performing the consciousness assessment the unfettered

discretion to remove his mask and / or face shield during part or all of the

consciousness assessment. Mr. Smith’s complaint still states a claim.

       The portion of the claim concerning problems arising out of the officer

conducting the consciousness assessment wearing PPE,8 especially the name response


8
 See, e.g., Doc 1 at 24 (“The Smith Addendum’s use of masks and face shields has introduced
substantial and significant risk that at least one or more steps of the consciousness assessment will
                                                                                                        5
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check, remains viable, as the Report leaves it to the discretion of that single

correctional officer whether to remove the PPE to perform or judge all or part of the

assessment.9 Specifically, the Report provides, “If the correctional officer . . . believes

that his assessment of the inmate or his ability to communicate is being obstructed by

his own PPE, then he may remove his shield and/or mask for the time necessary.”10

           At its core, that claim is concerned with any deviations from the long-

established protocol governing the consciousness assessment, such that Mr. Smith’s

constitutional right to equal protection from cruel and unusual punishment will be

placed at substantial risk.11 The Report has now made it official ADOC policy that a

single corrections officer has sole and unreviewable discretion to decide whether to

deviate from the long-established protocol.12

           The consciousness assessment is vital to any three-drug protocol using

midazolam, because midazolam is not an anesthetic. The whole purpose of a

consciousness test is to monitor reactions to stimuli to determine whether the



be conducted or will fail to detect whether Mr. Smith is still sensate after administration of
midazolam in violation of his right to be free from cruel and unusual punishment.”).
9
    Doc. 9 at 1 [2 of 5].
10
     Id.
11
     See, e.g., Doc. 1 at 24-25.
12
  Neither the Smith Addendum nor the Report indicate what COVID-19 screening is performed of
execution team members. There is not provision for a replacement for the correctional officer
trained to administer the consciousness test if he is unable to perform his duties due to having a
temperature of 100.4 or testing positive for COVID-19.. This makes the adoption of a policy of
unreviewable discretion in conducting the consciousness assessment even more problematic.

                                                                                                 6
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prisoner is sensate. It will be impossible for the officer conducting the consciousness

test to determine if a lack of response to stimuli is because the prisoner is no longer

sensate or because the response has been obstructed by the officer’s PPE. Leaving the

removal of PPE to an officer’s discretion does not negate the possibility that the

execution will move forward while Mr. Smith is still sensate because he simply did not

hear or understand the officer calling his name. Under such circumstances, Mr. Smith

would undoubtedly be subject to cruel and unusual punishment. 13

        The presence of anything that could interfere with the officer’s assessment of

Mr. Smith’s consciousness creates an unacceptable risk of extreme pain from the third

drug in the protocol, potassium chloride. This risk violates Mr. Smith’s right to equal

protection against cruel and unusual punishment. Therefore, Count One states a claim

upon which relief could be granted.

        Count Two of the complaint involves the Defendants limitation of witnesses to

the execution, making Mr. Smith choose between his lawyer, spiritual advisor, or

relative to witness his execution. Defendants informed this Court that Mr. Smith may

have three witnesses to the execution. However, this is still a violation of Mr. Smith’s



13
  See, e.g., Baze v. Rees, 553 U.S. 35, 53 (2008) (if a prisoner is not rendered insensate by the first drug,
“there is a substantial, constitutionally unacceptable risk of suffocation from the administration of
pancuronium bromide [the paralytic] and pain from the injection of potassium chloride”); Glossip v.
Gross, 576 U.S. 863, 949 (2015) (Sotomayor, J., dissenting) (because the second and third drugs “are
intended to paralyze the inmate and stop his heart . . . [and] do so in a torturous manner, causing
burning, searing pain,” it is “critical that the first drug, midazolam, do what it is supposed to do,
which is to render and keep the inmate unconscious”).

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Fourteenth Amendment rights, because he is being treated differently than any other

similarly situated death sentenced inmate and any person previously executed. Also,

the new statements changing the Smith Addendum do not account for a situation

where Mr. Smith’s attorney or spiritual advisor are not permitted to enter the prison

because of a positive COVID-19 test or having an elevated temperature.

          Count Three is also founded on the idea that Mr. Smith’s Fourteenth

Amendment rights are being violated by Defendants’ unequal treatment of him.

Defendants’ revised plan does not take into account denial of counsel and spiritual

advisor during the week even if they just have elevated temperatures, yet do not test

positive for COVID-19. Counsel, whether spiritual or legal, are not fungible. In

addition, the revised version still does not answer whether they will execute Mr.

Smith if he has COVID-19? The only thing that his clear is that all visitors, including

his attorneys and spiritual advisor, will be excluded if he tests positive for COVID-

19. The Defendants argue that these problems are hypothetical. Yet, even the

revisions to their own addendum has hypotheticals.14 The Defendants also claim that

Mr. Smith “wants it both ways” by arguing to reset the execution date because of

COVID-19 concerns, but complaining about how the Department is doing it. This is

hardly the case. Mr. Smith is being consistent in all regards. The relief he is requesting,

in each case is to not have a pandemic affect his constitutional rights leading up to



14
     Doc. 9 at 3 (“In the unlikely event…”).
                                                                                          8
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and during his execution, and only this Court can ensure his constitutional rights are

not surrendered in the name of public health. 15

       Mr. Smith is being treated differently in all respects than other persons subject

to the lethal injection protocol. He is entitled to receive the same access to counsel,

spiritual advisors, and visitors as any other person prior to an execution. Doing

otherwise violates his rights under the Eighth and Fourteenth Amendments. This

Court should deny the Defendants’ motion to dismiss.

II. Mr. Smith is entitled to a stay of execution.

       Mr. Smith has also requested a stay of execution, which the Defendants

oppose. Mr. Smith meets all the requirements to stay his execution and enjoin the

Defendants from executing him using the Smith Addendum or any of the

amendments to that addendum.

       Mr. Smith's execution should be stayed to allow him a fair opportunity to

challenge the State’s adoption of the Smith Addendum, which implicates his

constitutional rights. He is entitled to the equitable remedy of a stay if he can show: 1)

a substantial likelihood of success on the merits of a claim; 2) the requested action is

necessary to prevent irreparable injury; 3) the threatened injury outweighs the harm


15
   As Justice Gorsuch recently explained, “Why have some mistaken this Court’s modest decision in
Jacobsen for a towering authority that overshadows the Constitution during a pandemic? In the end, I
can only surmise that much of the answer lies in a particular judicial impulse to stay out of the way
in times of crisis. But if that impulse may be understandable or even admirable in other
circumstances, we may not shelter in place when the Constitution is under attack. Things never go
well when we do.” Roman Catholic Diocese of Brooklyn v. Cuomo, No. 20A-87 (Nov. 25, 2020) (Gorsuch,
J., concurring).
                                                                                                    9
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the stay would inflict upon the non-moving party and 4) the stay would serve the

public interest.16

          The Defendants’ sole response to Mr. Smith’s motion for stay of execution is

to again assert mootness. The Defendants do not address the fact that the only reason

Mr. Smith had to request a stay of execution is because they themselves created the

crisis by first seeking an execution date during a pandemic, and then making revisions

to its protocol less than two weeks before the execution. Mr. Smith’s complaint states

claims for relief and has a substantial likelihood of success on the merits. The other

equities all favor Mr. Smith, because his death at the hands of Defendants under the

Smith Addendum and its amendments will cause irreparable harm, he did not unduly

delay in the filing of this suit, and the public has an interest in whether an arm of its

government is depriving a person of equal treatment under the law in his final days on

Earth.

III. Conclusion

          For these reasons and for those in his initial pleadings, Mr. Smith respectfully

requests that this Court deny Defendants’ Motion to Dismiss and stay his execution.

                                                  Respectfully submitted,

                                                  /s/ John A. Palombi
                                                  JOHN ANTHONY PALOMBI
                                                  KENTUCKY BAR NO. 86784
                                                  /s/Spencer J. Hahn
                                                  Spencer J. Hahn

16
     Rutherford v. McDonough, 466 F.3d 970, 979 (11th Cir. 2006); Fed. R. Civ. P. 65.
                                                                                             10
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                         CERTIFICATE OF SERVICE

      This response was filed, via the CM/ECF system, on February 7, 2021,

which will cause all counsel of record to receive an electronic copy.


                                         /s/ John Palombi

                                         Counsel for Mr. Smith




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